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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Daniel and Arlene Cabral,                          :
                                                     Civil Action No.: ______
                                                   :
                        Plaintiff,                 :
        v.                                         :
                                                   :
Protocol Recovery Service, Inc.; and               :
                                                     COMPLAINT
DOES 1-10, inclusive,                              :
                                                   :
                        Defendants.                :
                                                   :



                For this Complaint, the Plaintiffs, Daniel and Arlene Cabral, by undersigned

counsel, state as follows:


                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), and the invasions of Plaintiff’s

personal privacy by the Defendants and its agents in their illegal efforts to collect a consumer

debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.


                                             PARTIES

        4.      The Plaintiffs reside in Fall River, Massachusetts, and are “consumers” as the

term is defined by 15 U.S.C. § 1692a(3).
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       5.       Defendant Protocol Recovery Service, Inc. (“Protocol”), is a Panama City, Florida

business entity with an address of 509 Mercer Avenue, Panama City, Florida 32401, operating as

a collection agency, and is a “debt collector” as the term is defined by 15 U.S.C. § 1692a(6).

       6.       Does 1-10 (the “Collectors”) are individual collectors employed by Protocol and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.       Protocol at all times acted by and through one or more of the Collectors.


                     ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt


       8.       Daniel Cabral allegedly incurred a financial obligation (the “Debt”) to a creditor

(the “Creditor”).

       9.       The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.      The Debt was purchased, assigned or transferred to Protocol for collection, or

Protocol was employed by the Creditor to collect the Debt.

       11.      The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).


   B. Protocol Engages in Harassment and Abusive Tactics


       12.      Within the last year, Protocol placed up to four (4) calls a day to Arlene’s

residential phone line (508-673-2521) in an attempt to collect the Debt.



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          13.      At the time, Arlene informed Protocol that she had been separated from her

husband and requested that Protocol cease calls.

          14.      Nevertheless, Protocol failed to comply with Arlene’s request, in violation of

Massachusetts and Federal law, and continued to call her.

          15.      In addition, Protocol placed numerous calls to Arlene’s mother, Mary Jane Dias,

in an attempt to locate Daniel and stated that the calls concerned a “business matter”.

          16.      Protocol failed to identify itself to Mrs. Dias.

          17.      Mrs. Dias informed Protocol that Daniel did not reside with her. Protocol,

however, continued to call Mrs. Dias.

          18.      In fact, Protocol contacted Mrs. Dias on or around April 11, 2012. To Mrs. Dias’

repeated statement that Plaintiff did not reside with her Protocol’s collector raised his voice and

rudely stated: “This has to be taken care of!”

          19.      In February, 2012, Daniel and Arlene reconciled and Daniel moved in with

Arlene.

          20.      On February 2, 2012, Daniel informed protocol that he was unemployed and that

his only source of income was Social Security Disability.

          21.      Jennifer, a representative of Protocol, talked over Daniel and called him a

“deadbeat”.

          22.      Furthermore, Jennifer stated that Daniel’s credit report would be “ruined” if he

failed to pay the Debt.

          23.      Daniel is in a fragile health condition and undergoes dialysis three days a week.

Protocol’s frequent harassing calls cause Daniel’s blood pressure to go up.




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   C. Plaintiff Suffered Actual Damages


          24.      The Plaintiffs have suffered actual damaged such as humiliation, anger, anxiety,

emotional distress, fear, frustration and embarrassment.


                                       COUNT I
                      VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

          25.      The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

          26.      The Defendants’ conduct violated 15 U.S.C. § 1692b(1) in that Defendants

contacted third parties and failed to identify themselves and further failed to confirm or correct

location information.

          27.      The Defendants’ conduct violated 15 U.S.C. § 1692b(2) in that Defendants

informed third parties of the nature of Plaintiff’s debt and stated that the Plaintiff owed a debt.

          28.      The Defendants’ conduct violated 15 U.S.C. § 1692b(3) in that Defendants

contacted third parties in regards to the Plaintiff’s debt on numerous occasions, without being

asked to do so.

          29.      The Defendants’ conduct violated 15 U.S.C. § 1692c(b) in that Defendants

communicated with individuals other than the Plaintiff, the Plaintiff’s attorney, or a credit

bureau.

          30.      The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

          31.      The Defendants’ conduct violated 15 U.S.C. § 1692d(2) in that Defendants used

profane and abusive language when speaking with the consumer.


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       32.      The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.

       33.      The Defendants’ conduct violated 15 U.S.C. § 1692e(10) in that Defendants

employed false and deceptive means to collect a debt.

       34.      The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

       35.      The Plaintiff is entitled to damages as a result of Defendants’ violations.


                                   COUNT II
               INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       36.      The Plaintiffs incorporate by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       37.      The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       38.      Massachusetts further recognizes the Plaintiffs’ right to be free from invasions of

privacy, thus Defendant violated Massachusetts state law.

       39.      The Defendant intentionally intruded upon Plaintiffs’ right to privacy by

continually harassing the Plaintiff with numerous calls.

       40.      The telephone calls made by Defendant to the Plaintiffs were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

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       41.      The conduct of the Defendant in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       42.      As a result of the intrusions and invasions, the Plaintiffs are entitled to actual

damages in an amount to be determined at trial from Defendant.

       43.      All acts of Defendant and its agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendant is subject to punitive damages.


                                     PRAYER FOR RELIEF

                WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:


                   1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                   2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                       against Defendants;

                   3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                       § 1692k(a)(3) against Defendants;

                   4. Actual damages from Defendants for the all damages including emotional

                       distress suffered as a result of the intentional, reckless, and/or negligent

                       FDCPA violations and intentional, reckless, and/or negligent invasions of

                       privacy in an amount to be determined at trial for the Plaintiff;

                   5. Punitive damages; and

                   6. Such other and further relief as may be just and proper.


                          TRIAL BY JURY DEMANDED ON ALL COUNTS




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Dated: May 9, 2012

                                    Respectfully submitted,

                                    By _/s/ Sergei Lemberg_________

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